IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: Case 23-70022 JAD

MOSES DOLZ, Chapter 7

Debtors.

MOSES DOLZ,

 

Movant,

LISA M. SWOPE, Chapter 7 Trustee,
UNITED STATES TRUSTEE,

CAPITAL ONE, EXCELA HEALTHCARE,
LOWES, SYNCHRONY BANK, EXACT
SCIENCES LABORATORIES,

BRYAN MELLINGER, and PRA

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RECEIVABLES MANAGEMENT LLC, )
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Respondents.

MOTION FOR EXTENSION OF TIME TO FILE SCHEDULES
Debtor Moses Dalz, through his undersigned counsel, moves this Court to extend
the time to file the schedules in this case until February 15, 2025. Counsel had a
meeting planned with the Debtor to finalize the schedules and missing information, but
due to illness of counsel it had to be postponed until the week for February 6, 2025.
Debtor can file the schedules either this week or over the weekend.
WHEREFORE, Debtor respectfully requests that this Court grant an extension
until February 15, 2023.
Date of Service: February 5, 2023
is! J. Allen Roth, Esq.
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COUNSEL FOR DEBTOR
